  Case 16-32459-KLP                     Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                                   Desc Imaged
                                             Certificate of Notice Page 1 of 7
Information to identify the case:
Debtor 1              Theresa A. Manning                                                 Social Security number or ITIN       xxx−xx−2005
                      First Name   Middle Name   Last Name                               EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court           Eastern District of Virginia
                                                                                         Date case filed for chapter 7 May 16, 2016
Case number:          16−32459−KLP


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                             About Debtor 1:                                        About Debtor 2:
1. Debtor's full name                        Theresa A. Manning

2. All other names used in the
   last 8 years

3. Address                                   14468 Pinehurst Lane
                                             Ashland, VA 23005

4. Debtor's attorney                         Robert A. Canfield                                     Contact phone 804−673−6600
   Name and address                          Canfield, Baer, & Heller, LLP                          Email: bcanfield@canfieldbaer.com
                                             2201 Libbie Ave., Suite 200
                                             Richmond, VA 23230

5. Bankruptcy trustee                        Bruce E. Robinson                                      Contact phone (434) 447−7922
   Name and address                          P.O. Box 538                                           Email: bruce.robinsontr@gmail.com
                                             415 E. Atlantic Street
                                             South Hill, VA 23970−0538
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
  Case 16-32459-KLP                      Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                                  Desc Imaged
                                              Certificate of Notice Page 2 of 7
Debtor Theresa A. Manning                                                                       Case number 16−32459−KLP


6. Bankruptcy clerk's office                     701 East Broad Street                                  For the Court:
                                                 Richmond, VA 23219
    Documents in this case may be                                                                       Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM                William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                                         Date: May 17, 2016
    www.pacer.gov.                         Contact phone 804−916−2400
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029


7. Meeting of creditors                          June 20, 2016 at 12:00 PM                              Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         Office of the U.S. Trustee, 701
    questioned under oath. In a joint case,                                                             East Broad Street − Suite 4300,
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.                                                Richmond, VA 23219−1885


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or to Filing deadline: August 19, 2016
                                               challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).

                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
  Case 16-32459-KLP                   Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                                      Desc Imaged
                                           Certificate of Notice Page 3 of 7
Debtor Theresa A. Manning                                                                       Case number 16−32459−KLP


12. Exempt property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                        sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                        may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                        that the law does not authorize an exemption that the debtors claim, you may file an
                                        objection. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                        exemptions in line 9.
13. Local Rule Dismissal                Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                             meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                        the meeting give notice of intention to abandon property burdensome or of inconsequential
                                        value or intent to sell nonexempt property that has an aggregate gross value less than
                                        $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                        6007−1.
14. Payment of Fees for                 Exact Change Only accepted as of February 4, 2008, for payment of fees and services.
    Richmond Case and                   Payment may be made by non−debtor's check, money order, cashier's check or a 'not to
    Adversary Filing and                exceed check' made payable to Clerk, U.S. Bankruptcy Court, or any authorized
    Miscellaneous Requests              non−debtor's credit card.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to http://ebn.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available on
Internet @ www.vaeb.uscourts.gov)

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov) and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline            page 3
      Case 16-32459-KLP         Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                 Desc Imaged
                                     Certificate of Notice Page 4 of 7
                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 16-32459-KLP
Theresa A. Manning                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-7           User: baumgartn              Page 1 of 4                   Date Rcvd: May 17, 2016
                               Form ID: 309A                Total Noticed: 178


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 19, 2016.
db             +Theresa A. Manning,     14468 Pinehurst Lane,     Ashland, VA 23005-3173
13377559       +A&A Transfer, Inc.,     44200 Lavin Lane,    Chantilly, VA 20152-1370
13377560       +A-1 Equipment, LLC,     12465 Moates Drive,    Ashland, VA 23005-7160
13377561        ABAA,    1600 Boston Providence Highway,     Walpole, MA 02081-0000
13377562       +ABC Imaging,    PO Box 79139,    Baltimore, MD 21279-0139
13377566       +AH Harris & Sons,     2405 Hermitage Road,    Richmond, VA 23220-1308
13377573       +APAC Engineering, Inc.,     2110 Seminary Road,     Silver Spring, MD 20910-1356
13377563       +Advantage Group,    PO Box 15270,     Irvine, CA 92623-5270
13377564       +Advantage Lumber,     PO Box 1819,    Opelousas, LA 70571-1819
13377565       +Aggregate Industries,     PO Box 32001,    New York, NY 10087-3201
13377567       +Ahern Rentals,    PO Box 271390,     Las Vegas, NV 89127-1390
13377568       +Alere eScreen,    7500 W 110th St., #500,     Overland Park, KS 66210-2407
13377569       +Allied Concrete Products LLC,      3900 Shannon Street,    Chesapeake, VA 23324-1054
13377574       +Arc3 Gases,    PO Box 26269,    Richmond, VA 23260-6269
13377575      #+Arch Capital Funding,     160 Pearl St. Fl. 5,     New York, NY 10005-1631
13377576       +Arent Fox,    Attn: Mary Joanne Dowd,     1717 K. St, NW,    Washington, DC 20006-5344
13377577       +Atlantic Parking,     4200 Wisconsin Ave.,NW Ste 550,     Washington, DC 20016-2143
13377578       +B&R Rebar/BMG Metals, Inc.,     PO Box 7433,    Merrifield, VA 22116-7433
13377585        BB&T Equipment Finance,     PO Box 896024,    Charlotte, NC 28289-6024
13377590       +BMG Metals,    PO Box 7536,    Henrico, VA 23231-0036
13377580       +Balfour Beatty,    2401 Eisenhower Avenue,     Alexandria, VA 22314
13377579       +Balfour Beatty,    3100 McKinnon St. 6th Floor,      Dallas, TX 75201-1081
13377582       +Bank of Lancaster,     P.O. Box 1869,    100 South Main Street,    Kilmarnock, VA 22482-9543
13377584        Bank of the West,     PO Box 7167,    Pasadena, CA 91109-7167
13377587        Betco Supreme- Anchor,     PO Box 281479,    Atlanta, GA 30384-1479
13377588       +Bingo Properties, LLC,     c/oR.C.Lawrence, Esq.Reg.Agent,     1802 Bayberry Ct., Ste 200,
                 Richmond, VA 23226-3773
13377589       +Bizport,    9 North Third Street,     Richmond, VA 23219-2207
13377591       +Builders Mutual Insurance Co,      PO Box 900017,    Raleigh, NC 27675-9017
13377592       +Bush, W.E., CPA,    PO Box 9685,     Henrico, VA 23228-0685
13377600        CAT Access (Commercial Acct),      PO Box 905229,    Charlotte, NC 28290-5229
13377603       +CDM Smith,    75 State St., Ste 701,     Boston, MA 02109-1940
13377623       +CT Corporation System,     4701 Cox Road, Ste 285,     Glen Allen, VA 23060-6808
13377593       +Call Cap,    125 N Emporia St. Ste 201,     Wichita, KS 67202-2516
13377594       +Can Capital,    414 W 14th Street,     New York, NY 10014-1013
13377595       +Capcall, LLC,    122 E. 42nd Street,     New York, NY 10168-0002
13377596       +Capital Brick & Tile, Inc.,     8315 Old Marlboro Pike Upper,     Upper Marlboro, MD 20772-2616
13377597       +Capital Rail Constructors,     196 Van Buren St., Ste 200,     Herndon, VA 20170-5337
13377598        Carter Rental-CAT Rental Store,      PO Box 751053,    Charlotte, NC 28275-1053
13377599       +Cast Stone Systems, Inc.,     532 N. Main Street,     Warrenton, NC 27589-1633
13377601        Caterpillar Financial Services,      PO Box 13834,    Newark, NJ 07188-0834
13377602       +Caterpillar Financial Services,      2120 West End Ave,    Nashville, TN 37203-5341
13377606       +Chase Mortgage,    P.O. Box 24696,     Columbus, OH 43224-0696
13377607        Cheney Flashing Co, LLC,     PO Box 818,    Trenton, NJ 08605-0818
13377610        Clark Construction Group,     7500 Old Georgetown Road,     Bethesda, MD 20814-6196
13377611       +Clark’s Electrical Co, Inc.,     PO Box 72623,     Richmond, VA 23235-8017
13377612       +Clark/US, LLC,    9111 Springboro Pike,     Miamisburg, OH 45342-4420
13377613       +Clayco,    35 E. Wacker Dr., Ste 1300,     Chicago, IL 60601-2110
13377614       +Coakley & Williams Constructio,      7475 Wisconsin Ave., Ste 900,    Bethesda, MD 20814-3499
13377615        Colony Tire Corp.,     PO Box 63382,    Charlotte, NC 28263-3382
13377617       +Conner (D.M.), Inc.,     PO Box 1181,    Waynesboro, VA 22980-0852
13377618       +Construction Materials, Inc.,      6878 Best Friend Rd,    Atlanta, GA 30340-3113
13377619       +Corporation Service Co.,     801 Adlai Stevenson Dr.,     Springfield, IL 62703-4261
13377620       +County of Henrico,     PO Box 3369,    Henrico, VA 23228-9769
13377621        Coventry of Virginia, Inc.,     PO Box 6485,    Carol Stream, IL 60197-6485
13377622       +Crowder Construction,     6425 Brookshire Blvd,     Charlotte, NC 28216-0301
13377624       +DCFS USA LLC (Daimler Trucks),      13650 Heritage Pkwy,    Fort Worth, TX 76177-5323
13377630        DMV,    PO Box 25850,    Richmond, VA 23260-5850
13377627        Demilec (USA), LLC,     PO Box 730594,    Dallas, TX 75373-0594
13377628       +Diamond Blade Warehouse,     PO Box 5759,    Vernon Hills, IL 60061-5759
13377631       +Donley’s,    5430 Warner Road,     Cleveland, OH 44125-1140
13377632       +DunbarMilbyWmsPittmanVaughn,     1025 Boulders Pkwy Suite 310,     Richmond, VA 23225-5549
13377633       +E. Stanley Murphy, Esq.,     Dunton Simmons & Dunton, LLP,     678 Rappahannock Dr., PO Box 5,
                 White Stone, VA 22578-0005
13377634       +EVB,    9495 Charter Gate Drive,     Mechanicsville, VA 23116-5171
13377641       +FSI,    PO Box 822816,    Philadelphia, PA 19182-2816
13377635        Farm Plan (Southern States),     PO Box 4450,     Carol Stream, IL 60197-4450
13377637        FedEx,    PO Box 371461,    Pittsburgh, PA 15250-7461
13377639        Fleetmatics USA LLC,     PO Box 347472,    Pittsburgh, PA 15251-4472
13377640       +Form Services, Inc.,     PO Box 60,    Henrico, VA 23075
13377642        General Shale Brick, Inc.,     PO Box 5825,    Carol Stream, IL 60197-5825
13377643       +George J. Bachrach, Esq.,     Wright, Constable & Skeen,LLP,     100 N. Charles Street, 16h Flo,
                 Baltimore, MD 21201-3812
13377644       +Gerald J. O’Brien,     9055 Comprint Ct., Ste 340,     Gaithersburg, MD 20877-1310
      Case 16-32459-KLP         Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                Desc Imaged
                                     Certificate of Notice Page 5 of 7


District/off: 0422-7          User: baumgartn              Page 2 of 4                    Date Rcvd: May 17, 2016
                              Form ID: 309A                Total Noticed: 178


13377645       +Gilbane Building Co.,    1001 Boulders Park, Ste 101,     Richmond, VA 23225-5505
13377646       +Gillies Creek Industrial Recyc,     4200 Masonic Lane,    Richmond, VA 23223-5553
13377647        Gillmann Services, Inc.,     PO Box 204653,    Dallas, TX 75320-4653
13377649       +Glen-Gery Corporation,    1166 Spring Street,     Reading, PA 19610-1721
13377648        Glen-Gery Corporation,    33015 Collection Center Dr.,     Chicago, IL 60693-0330
13377650        Gray Casualty & Surety Co,     PO Box 6202,    Metairie, LA 70009-6202
13377651       +Haley Buick GMC-Airport,     5500 S. Laburnum Ave.,    Henrico, VA 23231-4417
13377652        Halfen USA, Inc.,    PO Box 741843,    Atlanta, GA 30374-1843
13377653        Hilti, Inc.,    PO Box 382002,    Pittsburgh, PA 15250-8002
13377654        Home Depot,    PO Box 9055,    Des Moines, IA 50368-9055
13377655       +Howard Shockey & Sons,    c/o Wm. R Mauk, Jr. Esq.,      411 E. Franklin St., Ste 600,
                 Richmond, VA 23219-2200
13377656       +Howard Shockey & Sons, Inc.,     PO Box 2530,    Winchester, VA 22604-1729
13377657       +Hudson Insurance Co.,    c/o R.T.Pledger,Esq,SetliffHol,     4940 Dominion Blvd,
                 Glen Allen, VA 23060-6766
13377658       +Hydro Rents,    PO Box 625,    Slinger, WI 53086-0625
13377660       +James D. Schockey, Jr.,     1057 Martinsburg Pike,    PO Box 2530,    Winchester, VA 22604-1729
13377661        Kenseal Construction Products,     PO Box 416001,    Boston, MA 02241-6001
13377662       +Kilmarnock Mini Storage,     528 N. Main Street,    Kilmarnock, VA 22482
13377674        MK Diamond Products, Inc.,     PO Box 848247,    Los Angeles, CA 90084-8247
13377664       +Maier (Ernest), Inc.,    4700 Annapolis Road,     Bladensburg, MD 20710-1202
13377665       +Manhattan Construction Company,     4075 Wilson Blvd, Ste 650,     Arlington, VA 22203-2153
13377666       +Manhattan-Hunt,    5601 S. 122nd East Avenue,     Tulsa, OK 74146-6912
13377667      #+Manning Construction, Inc.,     1825 E. Nine Mile Road,    Henrico, VA 23075-2309
13377668       +Mark A. DiRienz et al.,     c/o Hubbard, Terry & Britt, PC,    PO Box 340,
                 Irvington, VA 22480-0340
13377669       +Marsh & McLennan Agency, LLC,     PO Box 12748,    Roanoke, VA 24028-2748
13377670       +Mastercraft Metals, Inc.,     6557 Mid Cities Avenue,    Beltsville, MD 20705-1434
13377671       +Matadi Construction, LLC,     PO Box 4453,    Silver Spring, MD 20914-4453
13377672       +Michael J. Manning,    14468 Pinehurst Lane,     Ashland, VA 23005-3173
13377675       +National Funding, Inc.,     9820 Tow Centre Drive, Ste 200,    San Diego, CA 92121-1944
13377676       +National Registered Agents,Inc,     4701 Cox Road,    Glen Allen, VA 23060-6808
13377678       +Nielson Builders,    3588 Early Road,     Harrisonburg, VA 22801-9724
13377679       +Northern Motors, Inc.,    11511 Fox Cross Road,     Ashland, VA 23005-8055
13377680       +Peak, LLC,    Representatve forUnknownParti,     170 W.Shirley Ave., Ste 207,
                 Warrenton, VA 20186-3083
13377681       +Pemberton (James C.) Corp.,     PO Box 206,    Sandston, VA 23150-0206
13377682        Pembrooke Occupational Health,     PO Box 654092,    Dallas, TX 75265-4092
13377683        Penn National Insurance,     PO Box 2257,    Harrisburg, PA 17105-2257
13377684       +Pirtek,    14803 Southlawn Ln,    Rockville, MD 20850-1393
13377685        Pitney Bowes,    PO Box 371874,    Pittsburgh, PA 15250-7874
13377686       +Potomac Valley Brick & Supply,     15810 Indianola Dr. Ste 100,     Derwood, MD 20855-2680
13377687       +Purcell Construction Corp.,     566 Coffeen St.,    Watertown, NY 13601-2685
13377688       +RAM Tool,    PO Box 320979,    Birmingham, AL 35232-0979
13377689       +Rathgeber Goss Associates,     15871 Crabs Branch Way,    Derwood, MD 20855-2635
13377690        Republic Services #965,     PO Box 9001099,    Louisville, KY 40290-1099
13377691        Ricoh USA, Inc.,    PO Box 827577,    Philadelphia, PA 19182-7577
13377692       +Riverside Brick & Supply Co.,     1200 Maury St.,    Richmond, VA 23224-3915
13377693       +Robert B. Hill, Esq.,    2425 Boulevard, Ste 9,     Colonial Heights, VA 23834-2324
13377694       +Rockingham Steel,    5124 Glen Alden Road,     Henrico, VA 23231-4319
13377695        RockinghamPetroleumCooperative,     PO Box 168,    Harrisonburg, VA 22803-0168
13377696       +Rosser, Derrick E., PC,     211-A England Street,    Ashland, VA 23005-2086
13377697       +Royals Commercial Services,Inc,     212 Najoles Road Ste A,    Millersville, MD 21108-2650
13377698       +Rue and Associates,    PO Box 640,    Mechanicsville, VA 23111-0640
13377699       +Rutherfoord International,     PO Box 12748,    Roanoke, VA 24028-2748
13377700       +Scaffold Resource, LLC,     9513 Lanham Severn Road,    Lanham, MD 20706-2623
13377701       +Shade & Wise,    1901 South Creek One,     Powhatan, VA 23139-7956
13377702       +Siemens Financial Services,Inc,     170 Wood Avenue South, Fl. 1,     Iselin, NJ 08830-2726
13377703       +Skanska USA Building,    350 Fifth Avenue, 32nd Fl.,     New York, NY 10118-3290
13377704       +Skyline Brick, LLC,    3900 Seminole Trail,     Charlottesville, VA 22911-8306
13377705       +Southside Builders Supply Corp,     PO Box 8805,    Richmond, VA 23225-0505
13377706       +Southside Precast Products,     1951 Hamburg Turnpike,    Buffalo, NY 14218-1046
13377708        SunTrust Bank,    P.O. Box 791274,    Baltimore, MD 21279-1274
13377707       +Sunbelt Rentals,    PO Box 409211,    Atlanta, GA 30384-9211
13377710       +Susquehanna Commercial Finance,     2 Country View Rd, Ste 300,     Malvern, PA 19355-1420
13377714       +TNT Equipment Co,    6677 Broughton Ave,     Columbus, OH 43213-1523
13377711       +Taylor & Parrish,    710 Perry Street,     Richmond, VA 23224-2347
13377713        Titan Va Ready-Mix, LLC,     PO Box 932564,    Atlanta, GA 31193-2564
13377715       +Tradesmen’s Software, Inc.,     PO Box 519,    Morris, IL 60450-0519
13377716        Troutman Sanders LLP,    PO Box 933652,     Atlanta, GA 31193-3652
13377717       +U.S. Specialty Insurance Co.,      601 S. Figueroa St., Ste 1600,     Los Angeles, CA 90017-5721
13377724       +VFI KR SPE I LLC,    6340 South 3000 East, Ste 400,     Salt Lake City, UT 84121-5572
13377720       +Va Contractors Grp Self Insura,     PO Box 12748,    Roanoke, VA 24028-2748
13377721       +Valley Building Supply, Inc,     210 Stone Spring Road,    Harrisonburg, VA 22801-9651
13377722       +Varilease Finance, Inc.,     c/o Stephen Campbell,    PO Box 6177,    Williamsburg, VA 23188-5219
13377726       +Vision Financial Group, Inc.,     615 Iron City Drive,    Pittsburgh, PA 15205-4321
13377727        Wells Fargo,    PO Box 7777,    San Francisco, CA 94120-7777
13377728       +Wells Fargo Bank, NA,    300 Tri-State Internat’l, #400,     Lincolnshire, IL 60069-4417
13377729       +West End Fabricators, Inc.,     12550 Broad Street Road,    Henrico, VA 23233-7300
13377732       +Whitlock DalrymplePoston&Assoc,     10621 Gateway Blvd, Ste 200,     Manassas, VA 20110-2055
      Case 16-32459-KLP         Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                 Desc Imaged
                                     Certificate of Notice Page 6 of 7


District/off: 0422-7           User: baumgartn              Page 3 of 4                   Date Rcvd: May 17, 2016
                               Form ID: 309A                Total Noticed: 178


13377733       +Wiss Janney Elstner Associates,   330 Pfingsten Road,   Northbrook, IL 60062-2095
13377734       +Witmeyer Law Firm,   10035 Sliding Hill Rd, Ste 102,   Ashland, VA 23005-7953
13377735        Wright, Constable & Skeen, LLP,   1 Charles Center, 16th Floor,   100 N. Charles St.,
                 Baltimore, MD 21201-3812

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bcanfield@canfieldbaer.com May 18 2016 02:47:52        Robert A. Canfield,
                 Canfield, Baer, & Heller, LLP,    2201 Libbie Ave., Suite 200,     Richmond, VA 23230
tr             +EDI: QBEROBINSON.COM May 18 2016 02:33:00       Bruce E. Robinson,    P.O. Box 538,
                 415 E. Atlantic Street,    South Hill, VA 23970-2701
13377570       +EDI: GMACFS.COM May 18 2016 02:33:00      Ally,    PO Box 9001951,    Louisville, KY 40290-1951
13377571       +E-mail/Text: ebn@hcc.com May 18 2016 02:49:24       American Contractors Indemnity,
                 601 S. Figueroa St. #1600,    Los Angeles, CA 90017-5721
13377572       +EDI: AMEREXPR.COM May 18 2016 02:33:00      American Express-Platinum Card,      PO Box 1270,
                 Newark, NJ 07101-1270
13377586       +E-mail/Text: bankruptcy@bbandt.com May 18 2016 02:48:30        BB&T Equipment Finance Corp,
                 600 Washington Ave, Ste 201,    Towson, MD 21204-1301
13377581        E-mail/Text: jackson@dsdlaw.com May 18 2016 02:49:06        Bank of Lancaster,
                 c/o Dunton, Simmon, & Dunton,    P.O. Box 5,    White Stone, VA 22578-0005
13377583       +E-mail/Text: bknotices@bankofthewest.com May 18 2016 02:49:11        Bank of the West,
                 Trinity Division,    475 Sansome St. 19th Floor,    San Francisco, CA 94111-3112
13377608        EDI: CITICORP.COM May 18 2016 02:33:00      CitiBusiness Card,     PO Box 182564,
                 Columbus, OH 43218-2564
13377604       +EDI: CHASE.COM May 18 2016 02:33:00      Chase,    P.O. Box 15298,    Wilmington, DE 19850-5298
13377605       +EDI: CHASE.COM May 18 2016 02:33:00      Chase Cardmember Service,      PO Box 15153,
                 Wilmington, DE 19886-5153
13377609        E-mail/PDF: BANKRUPTCY.NOTICES@RICHMONDGOV.COM May 18 2016 02:54:40         City of Richmond,
                 PO Box 26060,   Richmond, VA 23274-0001
13377616        E-mail/Text: ned-collections_bankruptcydocuments@comcast.com May 18 2016 02:49:38          Comcast,
                 PO Box 3006,   Southeastern, PA 19398-3006
13377625        EDI: RCSDELL.COM May 18 2016 02:33:00      Dell Business Credit,     PO Box 5275,
                 Carol Stream, IL 60197-5275
13377626        EDI: RCSDELL.COM May 18 2016 02:33:00      Dell Financial Services,      PO Box 81577,
                 Austin, TX 78708-0000
13377629        EDI: DISCOVER.COM May 18 2016 02:33:00      Discover Card,     P.O. Box 30943,
                 Salt Lake City, UT 84130-0000
13377638        EDI: BANKAMER.COM May 18 2016 02:33:00      FIA Card Services,     PO Box 15019,
                 Wilmington, DE 19886-5019
13377636        E-mail/Text: legal@fastenal.com May 18 2016 02:48:44        Fastenal Company,    PO Box 978,
                 Winona, MN 55987-0978
13377659        EDI: IRS.COM May 18 2016 02:33:00      Internal Revenue Service,     P. O. Box 7346,
                 Philadelphia, PA 19101-7346
13377663        E-mail/Text: camanagement@mtb.com May 18 2016 02:48:44        M&T Bank,    PO Box 64679,
                 Baltimore, MD 21264-4679
13377677       +E-mail/Text: ecf@salisianlee.com May 18 2016 02:49:58        Neal S. Salisian/Jay M.Lichter,
                 550 S. Hope St., Ste 750,    Los Angeles, CA 90071-2686
13377709       +EDI: STF1.COM May 18 2016 02:33:00      Suntrust Mortgage,     Mail Code RVW 3003,     PO Box 26149,
                 Richmond, VA 23260-6149
13377712       +E-mail/Text: bankruptcynotices@tcfef.com May 18 2016 02:48:51        TCF Equipment Finance, Inc.,
                 11100 Wayzata Blvd, Ste 801,    Hopkins, MN 55305-5503
13377718       +E-mail/Text: ustpregion04.rh.ecf@usdoj.gov May 18 2016 02:48:50         U.S. Trustee’s Office,
                 701 E. Broad Street,    Suite 4000,   Richmond, VA 23219-1849
13377719       +E-mail/Text: nadavis@hcc.com May 18 2016 02:49:05        United States Surety Company,
                 20 West Aylesberry Rd,    Lutherville Timonium, MD 21093-4144
13377723        EDI: VERIZONWIRE.COM May 18 2016 02:33:00       Verizon,    PO Box 25505,
                 Lehigh Valley, PA 18002-5505
13377725       +E-mail/Text: bkr@taxva.com May 18 2016 02:49:39       Virginia Department of Tax,      PO Box 1777,
                 Richmond, VA 23218-1777
13377730       +E-mail/Text: robin.steffan@wf-l.com May 18 2016 02:49:21        Western Equipment Finance,
                 503 Highway Two West,    Devils Lake, ND 58301-2900
                                                                                                TOTAL: 28

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
13377673*        Michael J. Manning,   14468 Pinehurst Lane,   Ashland, VA 23005-3173
13377731      ##+White Cap Construction Supply,   3881 Old Winter Garden Road,   Orlando, FL 32805-1002
                                                                                             TOTALS: 0, * 1, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.      Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.
       Case 16-32459-KLP               Doc 6 Filed 05/19/16 Entered 05/20/16 00:33:44                               Desc Imaged
                                            Certificate of Notice Page 7 of 7


District/off: 0422-7                  User: baumgartn                    Page 4 of 4                          Date Rcvd: May 17, 2016
                                      Form ID: 309A                      Total Noticed: 178


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 19, 2016                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 17, 2016 at the address(es) listed below:
              Bruce E. Robinson   bruce.robinsontr@gmail.com,
               therese.rogerstra@gmail.com;ruth.alexander.bka@gmail.com;brobinson@ecf.epiqsystems.com
              Robert A. Canfield   on behalf of Debtor Theresa A. Manning bcanfield@canfieldbaer.com,
               jcooper@canfieldbaer.com;kkruck@canfieldbaer.com;hwells@canfieldbaer.com;betsy@canfieldbaer.com;j
               eancanfield@comcast.net
                                                                                            TOTAL: 2
